        Case 1:19-cv-03557-RDM Document 46 Filed 08/17/20 Page 1 of 12




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


  COMMITTEE ON OVERSIGHT AND
    REFORM, UNITED STATES HOUSE
    OF REPRESENTATIVES,

                                Plaintiff,

         v.                                               No. 19-cv-3557 (RDM)

  WILLIAM P. BARR, in his official capacity
    as Attorney General of the United
    States, et al.,

                                Defendants.


                                   JOINT STATUS REPORT

       The parties respectfully submit this joint status report in compliance with the Court’s order

of August 7, 2020, directing the parties to address “their position or respective positions regarding

the next steps in the litigation in light of the D.C. Circuit’s en banc decision in Committee on the

Judiciary of the United States House of Representatives v. Don McGahn, No. 19-5331 (D.C. Cir.

Aug. 7, 2020).”

       Plaintiff’s Statement: The Committee on Oversight and Reform respectfully requests

that the Court resolve the parties’ pending cross-motions and order Defendants to produce the

priority documents to the Committee. The Court should reject Defendants’ attempt to further

delay the Committee’s investigation into the maladministration and politicization of the census,

and deny their request that the Court await further proceedings in McGahn. The Court denied

Defendants’ initial such request, see Minute Order (Dec. 13, 2019), and Defendants’ arguments

have only weakened since. The en banc D.C. Circuit has now confirmed that the Committee has

standing to sue to enforce its subpoenas, Comm. on the Judiciary v. McGahn, -- F.3d --, 2020
        Case 1:19-cv-03557-RDM Document 46 Filed 08/17/20 Page 2 of 12




WL 4556761 (D.C. Cir. Aug. 7, 2020), which have been pending since April 2019. In the

intervening sixteen months, the Committee’s investigation has grown substantially more urgent

as the Trump Administration has redoubled its efforts to interfere with an accurate count and a

lawful reapportionment. The Court should not permit Defendants to run out the clock on the

Committee’s inquiry and to shield their actions from scrutiny.

       1. The Committee has an ongoing “responsibility to exercise its oversight authority to

ensure that the Trump Administration acts to further the Census’s constitutional goals—not to

hinder them.” ECF No. 17-1 (Tatelman Decl. (Dec. 17, 2019)), Ex. G at 3. Toward that end, the

Committee has been investigating Defendants’ illegal attempt to add a citizenship question to the

2020 Census and to conceal their actual reasons for doing so, including by providing false

testimony to Congress. To craft appropriate remedial legislation the Committee must understand

what Defendants’ actions reveal about the integrity of the census process in the face of the

Administration’s efforts to politicize it and impair its accuracy. The priority documents, see ECF

No. 23 at 3-4 n.2, are particularly crucial to the Committee’s investigation. See, e.g., ECF No.

17 at 7-19, 31-33, 36-42; Tatelman Decl., Ex. G at 1-3, 7-15; id., Ex. OOO at 2-3, 6.

       Since the Supreme Court rejected Defendants’ stated rationale for adding a citizenship

question as pretextual—an explanation “contrived” after the fact to “distract[]” from their real

reasons, Dep’t of Commerce v. New York, 139 S. Ct. 2551, 2575-76 (2019)—the

Administration’s actions have compounded the Committee’s concerns. After the Supreme

Court’s decision, the President instructed the Commerce Department to obtain citizenship data in

part “to generate an estimate of the aggregate number of aliens unlawfully present in each State.”

84 Fed. Reg. 33,821, 33,823 (July 11, 2019). Last month, the President ordered the exclusion of

noncitizens “who are not in a lawful immigration status” from the reapportionment following the




                                                 2
           Case 1:19-cv-03557-RDM Document 46 Filed 08/17/20 Page 3 of 12




2020 Census, 85 Fed. Reg. 44,679, 44,680 (July 23, 2020), in violation of the Constitution and

implementing statutes, see, e.g., New York v. Trump, No. 20-cv-5770 (S.D.N.Y. filed July 24,

2020) (challenging the order). And earlier this month, notwithstanding its own previous

acknowledgment of delays caused by the coronavirus pandemic, the Census Bureau abruptly

announced that it would be pretermitting efforts to follow-up with non-respondents and

populations at risk of being undercounted.1 The Administration’s inexplicable rush to complete

the 2020 Census in just six weeks hampers the Bureau’s ability to count immigrant populations

and communities of color and to compile and publish accurate apportionment data.

       These actions provide further evidence that the Trump Administration is manipulating the

census to enhance the political representation of “Republicans and Non-Hispanic Whites.”

Tatelman Decl., Ex. OOO at 2 (quoting Tatelman Decl., Ex. M at 9). That poses a direct

institutional threat to the House, which draws its legitimacy from the accuracy and integrity of

the census by which its composition is determined. For that reason and many others, the

Committee’s need for information to conduct oversight and consider legislative reforms,

including “to safeguard the 2020 Census and to prevent similar maladministration in the future,”

Tatelman Decl., Ex. G at 3, is more critical than ever.

       2. The Court should proceed to decide the parties’ cross-summary judgment motions.

The Supreme Court has instructed that suits concerning Congressional subpoenas should “be



       1
         Stephanie Ebbs, 2020 Census to End Data Collection Sept. 30, Raising Concerns About
Undercounting, ABC News (Aug. 4, 2020), https://perma.cc/54KX-NUUB. Previously, the
Secretary of Commerce and the Census Bureau had requested an extension of census deadlines to
ensure an accurate count and apportionment amidst the pandemic. Press Release, U.S.
Department of Commerce Secretary Wilbur Ross and U.S. Census Bureau Director Steven
Dillingham Statement on 2020 Census Operational Adjustments Due to COVID-19 (Apr. 13,
2020), https://perma.cc/PA6B-PZYW. The House passed legislation in response to that request,
see Heroes Act, H.R. 6800, § 70201, 116th Cong. (2020), but the Administration now appears to
have withdrawn it.



                                                 3
           Case 1:19-cv-03557-RDM Document 46 Filed 08/17/20 Page 4 of 12




given the most expeditious treatment” so as not to “frustrate[] a valid congressional inquiry.”

Eastland v. U.S. Servicemen’s Fund, 421 U.S. 491, 511 n.17 (1975). In keeping with that

admonition and in light of the stated importance of the Committee’s investigation, this Court

denied Defendants’ motion to hold briefing in this case in abeyance pending a ruling in McGahn.

Minute Order (Dec. 13, 2019).2 Since then, the full D.C. Circuit has rejected Defendants’

primary jurisdictional objection, McGahn, 2020 WL 4556761, at *1, emphasizing that “[f]or

more than forty years this circuit has held that a House of Congress has standing to pursue a

subpoena enforcement lawsuit in federal court,” id. at *10. The fact that the en banc court

remanded to the panel for consideration of other threshold issues, id. at *15, should not cause

this Court to stay its hand now. Nor, contrary to Defendants’ assertion below, is that remand

analogous to the D.C. Circuit’s order granting rehearing en banc and vacating the panel’s

judgment that House committees lack standing to enforce their subpoenas. That order might

reasonably have caused the Court to wait. See ECF No. 39 at 1-2 (Committee’s statement);

accord id. at 3 (Defendants’ statement). The remand should not.

       Defendants’ additional reasons for delay lack merit. First, Defendants’ statements about

the accommodations process ring hollow in light of their actions. They have obstructed the

Committee’s investigation since January 2019. See ECF No. 17 at 19-31. It took this litigation

to reveal that the documents Defendants did provide to the Committee before they ceased

productions in July 2019 either were already public or had already been produced to plaintiffs in




       2
           See ECF No. 14 at 29:16-22 (The Court: “I’m going to deny the motion to hold the case
in abeyance …. [G]iven the fact that there is a coordinate branch of government here that is at
least telling us that they have some urgency and this is important to them to move forward with
this, that strikes me as an appropriate reason for us—the other two branches[—]to do our best to
move forward as quickly as we can.”); see also Minute Order (Dec. 13, 2019) (expediting
briefing and argument on the parties’ dispositive motions).



                                                 4
           Case 1:19-cv-03557-RDM Document 46 Filed 08/17/20 Page 5 of 12




a separate case. See ECF No. 23 at 2, 4-5, 55-56. It likewise took this litigation to prompt

Defendants to resume productions to the Committee, and even then (once again) largely of

documents already produced elsewhere, and not of the priority documents. While Defendants

have allowed Committee staff to review a subset of priority documents in camera, Defendants

have not produced unredacted copies of any of the priority documents to the Committee.

       Defendants assert that they “are continuing to work through the Committee’s remaining

requests.” But Defendants neglect that even some of those more recent accommodation

requests—which prioritize a small percentage of the documents at issue—have been pending for

five months, and they ignore that the Committee’s initial document requests have been pending

since January 2019. Defendants even declined a recent invitation to attempt additional progress.

In response to the Court’s August 7, 2020 Minute Order, the Committee proposed to Defendants

that the parties jointly request a short, three-week window to resolve outstanding issues before

suggesting how the Court should proceed. While stating a willingness to continue the

accommodations process, Defendants rejected the Committee’s proposal.

       Second, as explained above, the Committee’s investigation remains critically important.

The Committee has pursued it earnestly while this litigation has been pending, holding hearings

and briefings,3 requesting transcribed interviews,4 contributing to legislation to enhance

Congressional oversight of census operations—legislation that the House subsequently passed,5




       3
          See, e.g., Press Release, Oversight Committee Held Emergency Hearing on Trump
Administration’s Unconstitutional Politicization of 2020 Census (July 29, 2020),
https://perma.cc/9YWA-PRGJ; Press Release, Census Director Briefs Committee on Impact of
Coronavirus on Census (Apr. 27, 2020), https://perma.cc/MU7G-T2N2.
        4
          Letter from Chairwoman Carolyn B. Maloney to Census Bureau Director Steven
Dillingham (Aug. 4, 2020), https://perma.cc/L28L-Z37Q.
        5
          See Heroes Act, H.R. 6800, § 70202, 116th Cong. (2020) (passed by the House on May
15, 2020); Press Release, Heroes Act Includes Top Oversight Committee Priorities (May 12,



                                                 5
        Case 1:19-cv-03557-RDM Document 46 Filed 08/17/20 Page 6 of 12




and issuing reports and statements.6 The Committee’s work continues regardless of the House’s

legislative schedule.7 Defendants’ contrary assertions are false.

       Third, Defendants are likewise mistaken in claiming that Congress has never successfully

obtained information from an Executive Branch official in a lawsuit.8 Where Defendants also

claim to “have provided a significant number of additional documents to the Committee” since it

filed this lawsuit, it is difficult to understand Defendants’ point. Defendants may mean to assert

that Congress has never obtained Executive Branch information as a result of a court order, over

claims of privilege, but that is wrong. As the Department of Justice informed the D.C. Circuit in

litigation over the Committee’s subpoena concerning Operation Fast and Furious, after the

district court held “that the Committee had made a sufficient showing of need to overcome” the

Department’s claim of privilege, “[p]ursuant to the district court’s … order … the Department

produced to the Committee all previously withheld deliberative materials, subject only to

[certain] non-deliberative redactions.” Br. for Appellee at 8-9, Comm. on Oversight & Gov’t



2020), https://perma.cc/E2YL-5RYL; see also Fair and Accurate Census Act, H.R. 7034, § 3,
116th Cong. (2020) (introduced and referred to the Committee on May 27, 2020).
        6
          Staff Report, H. Comm. on Oversight & Reform and Subcomm. on Civil Rights & Civil
Liberties, It’s Time to Fill Out Your 2020 Census Form: Why a Complete Count Is Essential for
New York City (June 2020), https://perma.cc/7552-N5LJ; Press Release, Chairs Maloney and
Raskin Issue Statements on Trump Administration’s Unconstitutional Attempt to Exclude
Undocumented Immigrants from 2020 Census Count (July 21, 2020), https://perma.cc/Y4JJ-
V3LM; Press Release, Chairwoman Maloney’s Remarks at Press Conference on the Start of the
2020 Census (Mar. 5, 2020), https://perma.cc/5BLZ-NU38.
        7
          See also Press Release, Dear Colleague on House Returning to Save the Postal Service
(Aug. 16, 2020), https://perma.cc/P3S9-89UC (curtailing the recess that Defendants reference
below).
        8
          In context, Judge Griffith’s statement to that effect in his McGahn dissent may be
limited to lawsuits (like McGahn) concerning Congressional subpoenas for testimony. See 2020
WL 4556761, at *27. But cf. Joint Status Report, Comm. on the Judiciary v. Miers, No. 08-5357
(D.C. Cir. Sept. 8, 2009) (stating, in the context of the Miers litigation over Congressional
subpoenas for testimony and documents and an “Agreement Concerning Accommodation,” that
a Congressional committee completed interviews with Karl Rove and Harriet Miers). Only
documents are at issue here.



                                                 6
         Case 1:19-cv-03557-RDM Document 46 Filed 08/17/20 Page 7 of 12




Reform v. Lynch, No. 16-5078 (D.C. Cir. Dec. 20, 2016); see 156 F. Supp. 3d 101 (D.D.C.

2016). In any event, neither Defendants’ predictions about other courts’ future actions nor their

sense—contrary to the Committee’s—that it is too late for this Court’s adjudication to matter

justify granting their renewed request that the Court await further rulings in McGahn.

        Defendants’ Statement: In Committee on the Judiciary v. McGahn, --- F.3d ----, 2020

WL 4556761 (D.C. Cir. Aug. 7, 2020) (en banc), the D.C. Circuit held that informational disputes

between the House of Representatives and the Executive Branch may constitute Article III cases

or controversies. Id. at *1. Defendants acknowledge that, at this time, the en banc opinion controls

the Article III question in this case.

        Yet the limits of Article III are not the only reason why this case is not justiciable. In both

McGahn and this case, Defendants have asserted additional threshold defenses beyond the absence

of Article III jurisdiction. As in McGahn, Defendants have argued here that Congress has neither

conferred statutory subject matter jurisdiction nor created a cause of action permitting a House

committee to enforce its subpoenas against the Executive Branch in federal court. See Defs.’ Mot.

to Dismiss or for Summ. J., ECF No. 18, at 22-35. The en banc court did not reach these questions,

and instead remanded them for resolution by the panel. See McGahn, 2020 WL 4556761, at *15

(“Consideration of McGahn’s other contentions — including threshold pre-merits objections that

there is no subject matter jurisdiction and no applicable cause of action . . . — remain to be decided

and are remanded to the panel to address in the first instance.”). And the vacated panel opinion,

while grounding its ruling under Article III, left little doubt that the panel took Defendants’

arguments on these additional points quite seriously. See Comm. on the Judiciary v. McGahn, 951

F.3d 510, 522 (2020) (“The current statutory regime for enforcement of congressional subpoenas




                                                  7
           Case 1:19-cv-03557-RDM Document 46 Filed 08/17/20 Page 8 of 12




reflects Congress’s judgment that information disputes between the political branches do not

belong in federal court.”).

       Given the importance of the issues remaining to be decided by the D.C. Circuit, this Court

should continue to await definitive resolution by the D.C. Circuit as a matter of basic judicial

efficiency. As the Committee told this Court after the D.C. Circuit agreed to hear McGahn en

banc, “this Court should not proceed in a way . . . that pays no heed to the D.C. Circuit’s order

granting rehearing en banc in McGahn”; instead, “the Court should await the en banc D.C.

Circuit’s decision in McGahn before adjudicating the parties’ cross-motions in this case.” March

2020, 2020 Joint Status Report, ECF No. 39 at 2. The exact same logic applies here; the Court

should wait for definitive guidance from the D.C. Circuit on the remaining dispositive threshold

issues before proceeding further.9

       Three additional points bear emphasis. First, continuing to await guidance from McGahn

would permit the parties to continue to engage in the accommodation process that they have been

pursuing for the past six months. Consistent with Defendants’ good-faith participation in that

process, both the Department of Commerce and the Department of Justice have provided a

significant number of additional documents to the Committee; among other things, the Department

of Justice has, with the President’s authorization, permitted “in camera” review by Committee

staff of the draft Gary Letters that the Committee sought as priority documents, and over which



       9
          Eastland v. U.S. Servicemen’s Fund, 421 U.S. 491, 511 n.17 (1975), cited above by the
Committee, supra at 3-4, does not counsel or require otherwise. Eastland was a case brought
against the chairman of a Senate subcommittee and nine other senators (among others) seeking to
enjoin them from trying to enforce a congressional subpoena, 421 U.S. at 495, and every facet of
the Supreme Court’s analysis, including its discussion of expeditious treatment, was grounded in
the senators’ immunity from suit under the Speech or Debate clause. Id. at 501, 503, 511. Here,
the Committee is not a defendant, and Defendants have not asked the Court to “halt” or “interfere”
with its functions; rather, it is the Committee that has brought this case, meaning that
considerations of legislative immunity under the Speech or Debate clause are not implicated.



                                                8
          Case 1:19-cv-03557-RDM Document 46 Filed 08/17/20 Page 9 of 12




the President previously made a conclusive assertion of executive privilege. Both the Department

of Commerce and the Department of Justice are continuing to work through the Committee’s

remaining requests. The Committee expresses discontent with the pace of the accommodation

process since the case was last heard in January 2020, supra at 5, but it has not previously voiced

such complaints to Defendants in the intervening months. If the Court continues to give the parties

room to work out their disputes through the time-honored accommodation process, the parties may

be able to further narrow the issues requiring resolution by this Court.

         Second, any need that the Committee once may have had for an urgent resolution of this

action no longer exists. This suit seeks to enforce a July 2019 subpoena for documents concerning

the effort to reinstate a citizenship question on the 2020 census. When the Committee filed this

suit in November 2019, it had already been apparent for months that no such question would appear

on the census. The Committee nevertheless alleged that it required urgent resolution of this case

because “legislative reforms to safeguard this Census must be considered immediately,” given that

the “2020 Census begins in Alaska on January 21, 2020, and in the rest of the country on April 1,

2020.” Compl. (ECF No. 1) ¶ 168. Nine months have now passed, during which time no

emergency legislation has been enacted; nor has the Committee identified above any legislation

introduced, hearings held, or any other activity to which years-old documents concerning the

restoration of a citizenship question to the decennial census have any discernible relevance. Supra

at 5-6. And with the 2020 census due to end on September 30, see U.S. Census Bureau, Statement

from U.S. Census Bureau Director Steven Dillingham: Delivering a Complete and Accurate 2020

Census     Count,    https://www.census.gov/newsroom/press-releases/2020/delivering-complete-

accurate-count.html, the House plans to spend three of the next six weeks in recess. See Majority

Leader Steny Hoyer, Calendar, https://www.majorityleader.gov/calendar (last visited Aug. 14,




                                                 9
        Case 1:19-cv-03557-RDM Document 46 Filed 08/17/20 Page 10 of 12




2020). There was a vanishingly small chance of Congress enacting legislation affecting the 2020

census in November 2019, and there is zero chance of it doing so today.

       Third and finally, even if the Committee could claim a legitimate interest in the subpoenaed

documents absent a legitimate legislative purpose (and it cannot), that interest could not justify a

rush to judgment here. As Judge Griffith noted in his dissent from the en banc opinion in McGahn,

“Congress has never successfully obtained information from an executive-branch official in a

lawsuit.” McGahn, 2020 WL 4556761, at *27 (Griffith, J., dissenting). One reason why is that

when the Executive Branch has appealed from lower court orders to produce information to

Congress, higher courts have consistently stayed those orders to permit appropriate consideration

of the weighty separation of powers issues at stake. See, e.g., Order, Dep’t of Justice v. House

Comm. on Judiciary, No. 19A1035 (U.S. May 20, 2020) (staying D.C. Circuit order requiring

production of unredacted grand jury materials relating to Mueller investigation); Comm. on the

Judiciary of the U.S. House of Reps. v. Miers, 542 F.3d 909, 911 (D.C. Cir. 2008) (per curiam)

(staying order requiring former White House Counsel to testify before Committee, and produce

documents). Indeed, the stay that was issued in McGahn, see Comm. on the Judiciary v. McGahn,

No. 19-5331, Doc. 1818063 (D.C. Cir. Nov. 27, 2019), remains in effect to this day.10 The chances

of the Committee actually receiving privileged executive branch documents pursuant to an order

from this Court before (at least) the completion of D.C. Circuit litigation in McGahn are

infinitesimally small, underscoring why the Court should await further guidance from the D.C.



       10
             The Committee points to the Department of Justice’s production of documents
containing deliberative materials, but from which information containing attorney-client
privileged material, attorney work product, private information, law-enforcement sensitive
material, or foreign policy sensitive material had been redacted, pursuant to the court’s order in
Comm. Oversight & Gov’t Reform v. Lynch, 156 F. Supp. 3d 101 (D.D.C. 2016). Supra at 6-7.
The example is inapposite, however, because in that case the Executive Branch did not seek
appellate review of the district court’s order.



                                                10
        Case 1:19-cv-03557-RDM Document 46 Filed 08/17/20 Page 11 of 12




Circuit instead of trying to speed ahead of that Court while it simultaneously considers identical

issues. That approach is consistent with the deliberate and incremental approach the D.C. Circuit

itself has thus far taken in McGahn—deciding first the Article III issues and now remanding for

decision of the remaining issues.

                                             Respectfully submitted,

                                             /s/ Douglas N. Letter
                                             Douglas N. Letter (DC Bar No. 253492)
                                                 General Counsel
                                             Todd B. Tatelman (VA Bar No. 66008)
                                                 Principal Deputy General Counsel
                                             Megan Barbero (MA Bar No. 668854)
                                             Josephine Morse (DC Bar No. 1531317)
                                             Adam A. Grogg (DC Bar No. 1552438)

                                             OFFICE OF GENERAL COUNSEL
                                             U.S. HOUSE OF REPRESENTATIVES
                                             219 Cannon House Office Building
                                             Washington, D.C. 20515
                                             Telephone: (202) 225-9700
                                             douglas.letter@mail.house.gov

                                             David A. O’Neil (DC Bar No. 1030615)
                                             Anna A. Moody (DC Bar No. 1047647)
                                             Laura E. O’Neill (DC Bar No. 1033764)
                                             Nathaniel Johnson (DC Bar No. 241433)

                                             DEBEVOISE & PLIMPTON, LLP
                                             801 Pennsylvania Ave. NW
                                             Washington, D.C. 20004
                                             Telephone: (202) 383-8000

                                             Counsel for Plaintiff the Committee on Oversight
                                                and Reform, U.S. House of Representatives


                                             ETHAN P. DAVIS
                                             Acting Assistant Attorney General

                                             DAVID M. MORRELL
                                             Deputy Assistant Attorney General




                                               11
       Case 1:19-cv-03557-RDM Document 46 Filed 08/17/20 Page 12 of 12




                                   ELIZABETH J. SHAPIRO
                                   Deputy Director

                                    /s/ James J. Gilligan
                                   JAMES J. GILLIGAN
                                   Special Litigation Counsel

                                   STEVEN A. MYERS (NY Bar No. 4823043)
                                   Senior Trial Counsel
                                   United States Department of Justice
                                   Civil Division, Federal Programs Branch
                                   P.O. Box 883
                                   Washington, D.C. 20044
                                   Telephone: (202) 305-8648
                                   Fax:        (202) 616-8470
                                   E-mail:     steven.a.myers@usdoj.gov

                                   Attorneys for Defendants

August 17, 2020




                                     12
